                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                                                    UNITED STATES DISTRICT COURT
                                                                          5
                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                          6
                                                                          7   CRAGO, Inc., individually and on   )     Case No. 07-5944 SC
                                                                              behalf of all others similarly     )              08-0494 MEJ
                                                                          8   situated,                          )
                                                                                                                 )
                                                                          9             Plaintiffs,              )     ORDER CONSOLIDATING
                                                                                                                 )     CASES
                                                                         10       v.                             )
                                                                                                                 )
                               For the Northern District of California




                                                                         11   CHUNGHWA PICTURE TUBES, LTD.,      )
United States District Court




                                                                              CHUNGHWA PICTURE TUBES (Malaysia) )
                                                                         12   Sdn. Bhd., HITACHI, LTD., HITACHI )
                                                                              AMERICA, LTD., HITACHI ASIA, LTD., )
                                                                         13   IRICO GROUP CORP., IRICO DISPLAY   )
                                                                              DEVICES CO., LTD., LG ELECTRONICS, )
                                                                         14   INC., MATSUSHITA ELECTRIC          )
                                                                              INDUSTRIAL CO., LTD., PANASONIC    )
                                                                         15   CORPORATION OF NORTH AMERICA, ORION)
                                                                              ELECTRIC CO., LTD., ORION AMERICA, )
                                                                         16   INC., KONINKLIJKE PHILIPS          )
                                                                              ELECTRONICS N.V., PHILIPS          )
                                                                         17   ELECTRONICS NORTH AMERICA, SAMSUNG )
                                                                              SDI CO., LTD., SAMSUNG SDI AMERICA,)
                                                                         18   INC., SAMTEL COLOR, LTD., THAI CRT )
                                                                              COMPANY, LTD., TOSHIBA CORPORATION,)
                                                                         19   BEIJING-MATSUSHITA COLOR CRT       )
                                                                              COMPANY, LTD., MATSUSHITA TOSHIBA )
                                                                         20   PICTURE DISPLAY CO., LTD., and LP )
                                                                              DISPLAYS INTERNATIONAL, LTD.,      )
                                                                         21                                      )
                                                                                        Defendants.              )
                                                                         22                                      )
                                                                         23        The Court hereby finds that civil case Univisions-Crimson
                                                                         24   Holding, INC., et. al v. Chunghwa Picture Tubes, LTD., et. al,
                                                                         25   Case No. 08-0494, is suitable for CONSOLIDATION for the purposes
                                                                         26   of discovery and pre-trial hearings.    This consolidation is
                                                                         27   warranted by common questions of law and fact that pervade these
                                                                         28   individual matters.
                                                                          1   Consolidation will facilitate discovery and conserve judicial
                                                                          2   resources.
                                                                          3        This consolidated case will henceforth be referred to as "IN
                                                                          4   RE: Cathode Ray Tube (CRT) Antitrust Litigation."   All documents
                                                                          5   are to be filed under case number 07-5944-SC and all future
                                                                          6   filings are to bear the initials "SC" immediately after the case
                                                                          7   number.
                                                                          8        All motions and proceedings now pending in this case are
                                                                          9   hereby STAYED pending a decision by the Multi District Litigation
                                                                         10   (MDL) Panel on Plaintiff's Motion for Centralization in case MDL
                               For the Northern District of California




                                                                         11   No. 1917.
United States District Court




                                                                         12
                                                                         13
                                                                         14        IT IS SO ORDERED.
                                                                         15
                                                                         16        Dated: January 29, 2008
                                                                         17
                                                                         18                                       UNITED STATES DISTRICT JUDGE
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28                                   2
